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                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )      CR 114-041
                                            )
STEVEN CELESTINE STIDDONS                   )


                                       ORDER


       In his emergency motion filed on September 3, 2014, Defendant requests

permission to attend the funeral of his teenage son tomorrow at Burke County High

School. (Doc. no. 109.) The Court is saddened by the news of this tragedy and extends

its sincere condolences to Defendant and his family. The Court cannot permit Defendant

to attend the services, however, because controlling guidelines issued by the U.S.

Marshals Service strictly prohibit defendants from attending funeral services. For this

reason, the Court DENIES the motion.

       SO ORDERED this 5th day of September, 2014, at Augusta, Georgia.



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                                                BRIAN K EFkS
                                                                .'




                                                UNITED STATES MAGISTRATE JUDGE
                                                SOUTHERN DI STRICT OF GEORGIA
